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                                                       U.S. Department of JlIltiee
                                                                                                      v
                                                                                                             '.
                                                                                                          Z _ '.


                                                       Dwight C Holton
                                                       United StIltes Attorney
                                                       District a/Oregon
                                                       1000 SW Third Avenue, Ste. 600                (S03) 727-1000
                                                       Portland, OR 97204.2902                 Fu: (S03) 727-1 JJ7


                                                       December 14,2010

David Angeli
Angeli Law Group
121 SW Morrison St, Suite 400
Portland, OR    m04
        Re:     United States v. Mehrdad Yasrebi
                Plea Agreement Letter

Dear Counsel:

1.      PlIl1IeslScope: This plea agreement is between this United States Attorney's Office
(USAO) and defendant, and thU$ does not bind any other federat, state, or local prosecuting,
administrative, or regulatory authority. This agreement does not apply to any charges other than
those specifically mentioned herein.

2.      Cblll'l!eS and e'!!p!"pg: Defendant agrees to waive indictment and plead guilty to an
Infbnnation to be filed charging detmtdant with Conspiracy to Defraud the United States in
violation ofntle 18, united States Code, Section 371. The partieS agree that the elements of the
offense as alleged are that defendant (I) entered into an agreement (2) to obstruct lawful
functions of the Internal Revenue Service and Office of Foreign Assets Control of the Treasury
Department (3) by deceitful or disboneat mesns and (4) that he or a co-conspirator corimritted at
1east one overt act in furtherance of the conspiracy.

3.     Penalties: The maximum sentence is 5 years imprisonment, a fine Df$250,OOO, 3 years
of supervised release, and a $100 fee assessment Defendant agrees to pay the $100 fee
assessment by the time of entry of guilty plea or explain to the Court why this cannot be done.

4.     Dlsmlssa!!No Prosecution: The USAO will move at the time of sentencing to dismiss
any remaining counts against defendant The USAO further agrees not to bring additional
charges against defendant in the District of Oregon arising out Dflhis investigation, known to the
USAO at the time of this agreement

5.       Sentencing Factol'8: The parties agree that the Court I1I1lSI first determine the applicable
advisory gnido!ine range, then determine a reasonable sentence considering that range and the
filctors Iisted in 18 U.S.C. § 3553(a). Where the parties agree that sentencing fiIctors apply, such
agreement constitutes sufficient proof to satisfy the applicable evidentiary atandatd.
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6.      Acceptance ofB!l!W9JJSibDftv: Defendant must demonstmte to the Court that he fully
admits and accepts responsibility under USSG § 3El.I for hia unlawful conduct in this case. If
defendant doea so, the USAO will recommend a 1hrec-level reduction in defendant's offense
level (two levels if defendant's offense level is leas than 16). The USAO reserves the right to
change this recommendation if defendaot, between plea and sentencing, QQDIIDiIs any criminal
offense, obstructs or attempts to obstruct justice as explained in USSG § 3CU, or acts
inconsiatently with acceptance of responsibility as explained in USSG § 3EI.I.

7.      Sentencing Recommodations: The USAO will recommend that the Court impose a
sentence between 24 and 30 months imprisonment based upon the filctors set forth in 18 U.S.C. §
3553(a). The government reserves the right to ask for a fine. Defendant may request any
sentence that he believes is wammted by the evidence in the case. The psrties agree that their
respective sentencing memoranda will be filed at least 3 weeks in advance of sentencing, and
will describe, inter alia, (1) a summary of any evidence the parties intend to introduce or rely
upon at the sentencing hearing (outside of that set forth in the presentence report); and (2) any
witnessea, including expert witnesses, the parties intend to ca11 or rely upon at the sentencing
hearing.

8.      Waiver of AppeaI!Post-Conyictlon 8M: Defendaot knowingly and voluntsrlly
waives the right to appeal from any aspect of the conviction and sentence on any grounds, except
for a claim that: (1) the sentence imposed exceeds the statutoty maximum, or (2) the Court
anivea at an advisory sentencing guideline range by applying an upward depsrture under the
provisions of Guidelines Chapters 4 or 51{, or (3) the Court exercisea its discretion under 18
U.S.C. § 3553(a) to impose a sentence which exceeds the advisory guideline sentencing range.
Should defendant seek an appeal, despite this waiver, the USAO may take any position on any
issue on appeal. Defendant also waivea the right to file any collatera1 attack, including a motion
under 28 U.S.C. § 2255, challenging any aspect of the conviction or sentence on any grounds,
except on grounds of ineffective aasistance of counse~ and except as provided.in Fed. R. Crim.
P. 33 and 18 U.S.C. § 3582(c)(2).

9.      PotentlallmmimtioD consequences: Defendant understands that, if he is not a citizen
of the United States, hia guilty plea to the charged offense may result In hia being subject to
immigration proceedings and removed from the United States by making him deportable,
excludable, or inadmjssIble, or ending hia natorsiization. Defendant understands that the
immigration consequences oftbis plea would be imposed In a separate proceeding before
immigration authorities. The defendant wants and agrees to plead guilty to the chatged offense
regardleas of any immigration consequences of this plea, even if this plea may cause hia removal
from the United Statea. The defendant understands that he is bound by hia guilty plea regardless
of any immigration consequences of the plea. Accordingly, the defendant waives any and all
challenges to his guilty plea and to his sentence based on any immigration consequences, and
agrees not to seek tn withdraw hia guilty plea, or to file a direct appeal or any kind of collateral
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attack challenging his guilty plea, conviction, or sentence, based on any inunigration
consequences of his guilty plea.

10.      Court Not Bound: The Court is not bound by the recommendations of the parties or of
the presentence report (PSR) writer. Because this agreement is made under Rule 11(c)(l)(B) of
the Federal Rules of Criminal Procedure, defendant may not withdraw any guilty plea or rescind
this plea agreement if the Court does not follow the agreements or recommendations ofthe
parties.

11.     Fun DisclosurelReservation of Rights: The USAO will fully inform the PSR writer and
the Court of the facts and law related to defendant's case. Except as set forth in this agreement,
the parties reserve all other rights to make sentencing recommendations and to respond to
motions and arguments by the opposition.

12.     Breach of Plea Ap-eement: If defendant breaches the terms of this agreement, or
commits any new criminal offenses between signing this agreement and sentencing, the USAO is
relieved of its obligations under this agreement, but defendant may not withdraw any guilty plea.

13.      Memorialization of Agreement: No promises, agreements or conditions other than
those set forth in this agreement will be effective unless memorialized in writing and signed by
all parties listed below or confirmed on the record before the Court If defendant accepts this
offer, please sign and attach the original of this letter to the Petition to Enter Plea.


                                                     Sincerely,

                                                     DWIGHT C. HOLTON


                                                   U~
                                                     DAVID L. ATKINSON
                                                     CHARLES F. GORDER, JR.
                                                     Assistant United States Attorneys
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       I have careJbIIy reviewed every part of this asreementwith my attorney. I understand and
voluntarily agree to ilB terms. I expressly waive my righlB to appeal as outlined in this
agreement I wish to plead guilty because, in fact, I am suilty.


                                                     H.£,. J J    d',..-l.

      I represent the defendant as legal counseL I have carefully reviewed every part of this
agreement with defimdant. To my knowledge,                dei:isi(!lls to make this agreement and
to plesd guilty are infurmed and \ll)luntsry ODeS.

 IJJS1teJ
Date
